                                                                        Filed: 9/6/2018 11:42 AM
Case 1:18-cv-03127-WTL-DML 49D03-1809-CT-035666
                           Document 1-1 Filed 10/09/18 Page 1 of 19 PageID   #: 4Myla A. Eldridge
                                Marion Superior Court, Civil Division 3                                       Clerk
                                                                                             Marion County, Indiana


    STATE OF INDIANA                     )         MARION COUNTY SUPERIOR COURT
                                         )
                                         )         CAUSE NO.
    COUNTY OF MARION                     )
                                         )
    JONIECE BROOKS                       )         COMPLAINT FOR DAMAGES
    and JAYDEN BOND,                     )
          PLAINTIFFS,                    )
          VS.                            )
                                         )
    FISHERS HIGH SCHOOL,                 )
    HAMILTON SOUTHEASTERN                )
    SCHOOL CORPORATION, aka,             )
    HAMILTON SOUTHEASTERN                )
    SCHOOL DISTRICT, aka,                )
    HAMILTON SOUTHEASTERN                )
    SCHOOLS, RICK WIMMER,                )
         DEFENDANTS.                     )

                                         SECTION I
                                       JURISDICTION

           1. Come now the Plaintiffs, by counsel Richard A. Jones pursuant to Indiana

              Common and Tort Law and 42 U.S.C. § 1983.

                                          SECTION II

                  PARTIES AND THEIR RELATIONSHIP TO STATE

           2. Plaintiff Joniece Brooks is an African-American female and the mother of

              Plaintiff Jayden Bond, and Jayden Bond is an African-American student at

              Defendant Fishers High School, which is governed by Defendant Hamilton

              Southeastern School District, which is licensed by the State of Indiana. During

              all relevant times, Defendant Rick Wimmer was employed as a teacher and

              Head Football Coach for Fishers High School.

              Wimmer was licensed by the State to teach and was acting under the authority

              or color of state law and within the scope of his employment. All Defendants

              are licensed by the State of Indiana, Department of Education.



                                                                                      Exhibit A
Case 1:18-cv-03127-WTL-DML Document 1-1 Filed 10/09/18 Page 2 of 19 PageID #: 5



                                       SECTION III

                          ADMINISTRATIVE PROCEDURES

            The Plaintiffs have filed with the appropriate government agencies and served

            upon the Defendants Notice of Plaintiffs’ intent to seek damages as a result of

            wrongful conduct in compliance with IC 34-13-3-8.

                                       SECTION IV

                                NATURE OF THE CASE

            The Defendants violated and deprived the Plaintiffs of their constitutional

            right to equal protection under the law, due process and civil rights and

            harmed the Plaintiffs by their negligent conduct by subjecting Jayden Bond to

            the Defendants’ unconstitutional practice, policy, and custom and by failing to

            properly train, failing to properly supervise and wrongfully retaining a poorly

            trained employee by the name of Rick Wimmer. That failure to train

            amounted to deliberate indifference to an obvious need for such training, and

            Defendants knew or should have known that it was likely the failure to train

            would result in Wimmer making a wrong decision for discipline for tardiness

            and bullying. The Defendants violated and deprived Plaintiffs of their

            constitutional right to equal protection under the law, due process and civil

            rights by subjecting Jayden Bond to arbitrary and racially discriminatory

            discipline which violated school official policy for entering a class tardy.

            Additionally, the Defendants violated and deprived Plaintiffs of their

            constitutional right to equal protection under the law, due process and civil

            rights by failing to protect Jayden Bond from bullying and failing to enforce

            Section 17 of the school’s discipline policy for bullying of Jayden Bond by

            students.
Case 1:18-cv-03127-WTL-DML Document 1-1 Filed 10/09/18 Page 3 of 19 PageID #: 6



                                         SECTION V

                                     STATEMENT OF FACTS


       1. At about 1:15 p.m. on or about September 13, 2016, Jayden Bond, while attending Fishers

          High School located at 13000 Promise Rd., Fishers IN 46038 as a lawfully enrolled

          student, entered the weight lifting area of the gym properly dressed in gym attire

          about one minute after the tardy bell. Upon entering the weight lifting area, Rick

          Wimmer, a licensed teacher working at Fishers High School as a teacher on the day

          and time Jayden Bond entered the weight lifting area of the gym, without permission and

          without legal authority, knowingly and intentionally touched Jayden Bond in a rude,

          insolent or angry manner causing short-term pain to Bond’s body and long-term

          emotional distress and emotional pain as a result of the illegal physical assault by Rick

          Wimmer.

       2. Rick Wimmer’s attack was triggered by Jayden Bond arriving to class after the tardy bell

           sounded.

       3. Also, due to Jayden Bond’s tardiness incident, Rick Wimmer kicked Jayden Bond off the

          football team and threatened to not give Jayden Bond credit to which Jayden Bond was

          entitled to for the day.

       4. Rick Wimmer was placed on some kind of paid administrative leave while the incident

         was being investigated.

       5. Rick Wimmer was a popular football coach, and students blamed Jayden Bond for Rick

          Wimmer being placed on administrative leave; also, members of the student body began

          bullying Jayden Bond to show support for Rick Wimmer.

       6. Both Plaintiffs reported detailed facts regarding the bullying and were promised that

          appropriate disciplinary action would be taken.
Case 1:18-cv-03127-WTL-DML Document 1-1 Filed 10/09/18 Page 4 of 19 PageID #: 7




       7. The bullying continued and Jayden Bond was forced to withdraw from school for his

          safety because the administration failed to take appropriate steps to protect Jayden Bond

          from the bullying.

       8. Fishers High School and Hamilton Southeastern Schools failed to protect Jayden Bond

          from Rick Wimmer and they knew or should have known that Rick Wimmer presented a

          threat to the safety and welfare of Jayden Bond.

       9. Rick Wimmer and Jayden Bond reported the assault to Fishers High School’s officials

          and Joniece Brooks was notified. Rick Wimmer was placed on paid administrative

          leave and the assault was reported to the Fishers Police Department. No formal criminal

          charges have been filed by City or County officials.

       10. Both Plaintiffs have suffered deep and lasting emotional pain and mental distress as a

          result of the assault against Bond by Rick Wimmer, a person in a position of trust and

          charged with the responsibility of protecting Jayden Bond while in the custody of Fishers

          High School for educational purposes.

       11. The Plaintiffs have suffered damages for mental health medical treatment

          and pain and suffering and will continue to suffer emotional distress and emotional pain

          and continue to incur mental health costs from medical treatment caused by the assault on

          Jayden Bond by Rick Wimmer on or about September 13, 2016.

                                        SECTION VI
                                      CAUSE OF ACTION

              VIOLATION OF CIVIL RIGHTS, COUNTS 1 THROUGH III

                                            COUNT I.

       12. Plaintiffs incorporate by reference the allegations set forth in rhetorical

          paragraphs one (1) through eleven (11) and allege as follows:
Case 1:18-cv-03127-WTL-DML Document 1-1 Filed 10/09/18 Page 5 of 19 PageID #: 8



       13. The Defendants conduct violated 42 U.S.C. § 1983 and deprived Plaintiffs of their

          constitutional right to equal protection under the law, due process and civil rights and

          harmed the Plaintiffs by their negligent conduct by subjecting Jayden Bond to the

          Defendants’ unconstitutional practice, policy, and custom and arbitrary and racially

          discriminatory discipline which violated school official policy for entering a class tardy.

                                            COUNT II

       14. Plaintiffs incorporate by reference the allegations set forth in rhetorical

          paragraphs one (1) through eleven (11) and allege as follows:

       15. The Defendants conduct violated 42 U.S.C. § 1983 and deprived Plaintiffs of their

          constitutional right to equal protection under the law, due process and civil rights and

          harmed the Plaintiffs by failing to properly train, failing to properly supervise and

          wrongfully retaining a poorly trained employee by the name of Rick Wimmer.

                                           COUNT III

       16. Plaintiffs incorporate by reference the allegations set forth in rhetorical

          paragraphs one (1) through eleven (11) and allege as follows:

       17. The Defendants conduct violated 42 U.S.C. § 1983 and deprived Plaintiffs of their

          constitutional right to equal protection under the law, due process and civil rights

          by failing to protect Jayden Bond from bullying and failing to enforce Section 17

          of the school’s discipline policy for bullying of Jayden Bond by students.


       VIOLATION OF STATE RIGHTS COUNTS IV THROUGH COUNTS VIII

                                            COUNT IV

                         NEGLIGENT TRAINING OF EMPLOYEE

       18. Plaintiffs incorporate by reference the allegations set forth in rhetorical

          paragraphs one (1) through eleven (11) and allege as follows:
Case 1:18-cv-03127-WTL-DML Document 1-1 Filed 10/09/18 Page 6 of 19 PageID #: 9



       19. All Defendants except Rick Wimmer had a duty to Plaintiffs to exercise

           reasonable care in training Rick Wimmer as an employee so Wimmer would

           know the standard for providing discipline for tardiness, taking of credit, and

           putting hands on students.

       20. Defendants failed to exercise reasonable care in training and/or failed to

          train Wimmer properly, entirely or sufficiently.

       21. Defendants either knew or should have known it was foreseeable that an

          incident of this type could occur given Wimmer’s lack of training.

       22. Defendants’ failure to train proximately caused the injury to Plaintiffs

          complained of herein.

       23. Plaintiffs suffered financial, physical and emotional and mental damages

          as a result of the injury Defendants’ failure to train Wimmer caused.


                                    COUNT V
                       NEGLIGENT SUPERVISION OF EMPLOYEE

       24. Plaintiffs incorporate by reference the allegations set forth in rhetorical

          paragraphs one (1) through eleven (11) and allege as follows:

       25. All Defendants except Rick Wimmer had a duty to Plaintiffs to provide

          the standard of supervision needed for Wimmer’s lack of training when he is with

          students.

       26. Defendants’ either new or should have known it was foreseeable that an

          incident of this type could occur given Wimmer’s lack of training.

       27. Defendants’ should have taken supervisory steps to prevent Wimmer from

          injuring Jayden Bond, but Defendants failed to take supervisory steps needed to

          prevent injury to Plaintiffs.
Case 1:18-cv-03127-WTL-DML Document 1-1 Filed 10/09/18 Page 7 of 19 PageID #: 10



       28. Defendants’ failure to properly supervise Wimmer proximately caused the

          injury to Plaintiffs herein.

       29. Plaintiffs suffered financial, physical and emotional and mental damages

          as a result of the injury Defendants’ failure to supervise Wimmer caused.


                                    COUNT VI
                        NEGLIGENT RETENTION OF EMPLOYEE

       30. Plaintiffs incorporate by reference the allegations set forth in rhetorical

          paragraphs one (1) through eleven (11) and allege as follows:

       31. All Defendants except Rick Wimmer had a duty to Plaintiffs

         to exercise reasonable care in training Wimmer as an employee of

         Defendants so Wimmer would know the proper standard.

       32. Defendants failed to exercise reasonable care in training and/or failed to

          train Wimmer properly, entirely or sufficiently.

       33. Defendants also had a duty to provide the standard of supervision

          needed for Wimmer’s lack of training.

       34. Defendants failure to properly exercise reasonable care by deciding to retain

          Wimmer proximately caused the injury to Plaintiffs complained of herein.

       35. Plaintiffs suffered financial, physical and emotional and mental damages

          as a result of the injury Defendants’ failure to exercise reasonable care by

          deciding to retain Wimmer.

                                      COUNT VII
                                NEGLIGENT INFLICTION OF
                                  EMOTIONAL DISTRESS

       36. Plaintiffs incorporate by reference the allegations set forth in rhetorical

          paragraphs one (1) through eleven (11) and alleges as follows:
Case 1:18-cv-03127-WTL-DML Document 1-1 Filed 10/09/18 Page 8 of 19 PageID #: 11



       37. Wimmer knew or should have known and it was foreseeable that the

          putting his hands on Jayden Bond the way he did could harm Jayden Bond’s body

          and Bond’s emotional health.

       38. Wimmer knew or should have known and it was foreseeable that putting

          his hands on Jayden Bond would impact Bond’s and Brook’s mental and

          emotional health;

       39. Wimmer’s wrongful acts were the proximate and direct cause of the Plaintiff Bond’s

          Mental and Emotional Distress, diminished self esteemed; diminished quality of

          life, and problems with the criminal justice system.


                                       COUNT VIII
                                  ASSAULT AND BATTERY

       40. Plaintiffs incorporates by reference the allegations set forth in rhetorical

          paragraphs one (1) through eleven (11) and alleges as follows:

       41. Wimmer touched Jayden Bond knowingly or intentionally in a rude,

          insolent, or angry manner without Bond’s consent or legal authority to touch

          Bond in the manner he touched Bond for coming to class late.

       42. Wimmer owed Jayden Bond a duty to resolve the incident without violence.

       43. Wimmer breached that duty.

       44. Wimmer knew or should have known and it was foreseeable that putting

          his hands on Jayden Bond in the manner he did would impact Bond’s and

          Brook’s mental and emotional health if not harm Bond physically.

       45. Wimmer’s wrongful acts were the proximate and direct cause of the Plaintiff Bond’s

          Mental and Emotional Distress, diminished self esteemed; diminished quality of

          life, and problems with the criminal justice system.
Case 1:18-cv-03127-WTL-DML Document 1-1 Filed 10/09/18 Page 9 of 19 PageID #: 12



    WHEREFORE, the Plaintiffs pray the Court for the following relief:

        ( l)          T0 award          Plaintiffs   With a monetary judgment sufﬁcient t0 compensate Plaintiffs


    for the    damages and       injuries   caused by Defendants negligent conduct complained 0f herein.


        (2)           Defendants to pay legal costs of the action and                all   other costs incurred


    as a direct   and proximate cause ofthe Defendants’ conduct complained 0f in these claims.


        (3)           Require Defendants t0             train   its   employees regarding proper standards for a

    student    who comes        t0 class tardy.



        (4)           Defendants to pay punitive damages.


        (5)           For   all   other reliefjust and proper in these premises.




                                            DEMAND FOR JURY TRIAL
    Plaintiffs   demand     a   trial   byjury 0n    all issues.




                                                       Respectfully submitted,


                                                       /s/Richard A. Jones
                                                       Richard A. Jones, Esq., 15200-49
                                                       Attorney for Joniece Brooks and Jayden           Bond
                                                       7202 N. Shadeland Ave., Suite 214
                                                       Indianapolis, IN 46250
                                                       Ph: 317-845—9596
                                                       Fax: 317-845-9597
                                                       Email: Rajoneslaw08@aol.com
                            49D03-1809-CT-035666                         Filed: 9/6/2018 11:42 AM
Case 1:18-cv-03127-WTL-DML Document
                              S                              TJV{TMCINS
                                    1-1 Filed 10/09/18 Page 10 of 19 PageID   #: 13
                                                                                  Myla A. Eldridge
                                                   Marion Superior Court, Civil Division 3                                                     Clerk
                                                                                                                              Marion County, Indiana

   JONIECE BROOKS                                                                             ln thelMarion Superior Coult, Room No

   ANd     JAYDEN BOND.

                                                                     plaintiffS^
                                                                               /
                                      _vs_                                                      Ca,use
  FISHERS HIGH SCHOOL, HAMILTON SOUTHEASTERN                                                    No.

  SCHOOL CORPORATION,'aka, HAMILTON
  SOUTHEASTERN SCHOOL DISTNCT. aka.
  HAMILTON SOUTHEASTERN SCHOOLS, RICK WIMMER,
                                                                     Defendantb
                                                                                     "

                      RucK t .rin^\.^.€-,ll
 ro DEFENDANT: (NameE_F                rlUfg>_W
                          <eOor.url--E!!
                                 Fsuttzs ,:r ns L\(sag
      You are hereby notified that you have been sued by the
                                                             person named qs lrlaintiff                          and   in the Cour:t indicated
 above.

      The nature of the suit against you is stated in the complaint
                                                                    which is attached to this Summons.                          It    also   states
 the relief sought or the demand made against you be the plaintiff.

      An answer or other appropriate response in writing to the compiaint
 within twenty (20) days, commencing the day after you receive must be filed either by you or your alr:ornQy
                                                                       this Surnrnons, (or twenty-thlee (23) da.ys )f
 this Summons was received by mail), or a judgment by lefault
                                                                 may be renderefl against you for                        the relief   demancled
 by plaintiff.

      If    you have a craim for relief against the praintiff arising
                                                                      from the sanre tr:ansaction
 assert   it in your written answer.                                                                              or   occurrence, Vou must

      If you need the name of an attomey, you may          the Indianapolis Bar Associatiion Lawye.r l{efeual
                                                  ^contact
 or the Marion county Far Association Lawyer Referral                                                         serviceQ6g-2.222),
                                                        Service (634_'3950),
            9/6/2018
 Dated
                                                                                   clrrk, Mrtt"" srpbT-   c"*t                 ------(seai)
                 (The following manner of service of summons
                                                             is hereby designated.)
                       Registered or certified mail.
                                                                      R,..ea   ,^r,inctt-
                                                                                                                                                      gj)
                       Service at place of employment, to_wit:
                                                                                           [5.f€t -\3oo., Faant s* .K|rtft
                       Service on individual         (personal or copy) at above address.
                                               -
                       Service on agent, (Specify)

                       Other service. (Specify)



.A.ttorney for Plaintiff
                                                                              Marion County Sup,erior Court
                                                                              200 East Washington Street
Address
                                                                              Indianapolis, IN 46204



                 D\-l-?    rr' -re                                            Telephone
Form #209
                                       's
                                                                                                                        Exhibit B
             Case 1:18-cv-03127-WTL-DML   Document@A/
                             SWtrRIFJF,S R"EtrI/RN 1-1 Filed 10/09/18 Page 11 of 19 PageID #: 14
                                                                             sERVlCE,              oF     srl,prmows
    I hereby certify that I have served this summons on         the,         day of                          r , ZO_-__:
    (1) By clelivering a copy of the Summons ancl a copy of
                                                            the compiaint to the defendant,
    (2) By leaving a copy of the Summons and a copy of the complaint
                                                                             at
 zhich is the dwelling place or usual place of abocle of
 nd by mailing a copy of said summons to said defendant at the
                                                               above address,
    (3) Other Service or Remarks:



jheriff's Costs
                                                                                  Sheriff
                                                                                  By:
                                                                                        Deputy

                                              C N.."EfrI.K'   S CER.TT F NC.4TE        F IWAIN,IN G
                                                                                          O
    I   heleby certify that on the                dav of                           20-,I
                                       -.__                                                 mailed]a copy of this Summons and a copy of the
,omplaint ttl the defendant,
                              --__----
.t the address furnished by the plaintiff.
                                                                                    hrr
                                                                                                                    mail, requesting a leturn receipt,


                                                                                  Clerk, Marion Superior Court
)ated:   .
                                                              ,20                 By:
                                                                                        Deputy

                                       /REZ'UfriN     rO.n/   SERV/CE OF, SUMMONS AI, M,4IL
    I   hereby certify that the altached retum rect:ipt was received by
                                                                        me showing that the Sumrt'rons and a copy of the cornplaint mailecl to
lefendant                                    _ ., was accepted by the defendant on the            day of                 _,20_--_,
   i herebv celtify that the attached letum receipt was receivedty me showing
                                                                                that the summolrs and a copy of the complaint was returned
Iot accepted on the _.-.-_      day of ___                      20---..
    I hereby certify thar the attached return recrlipt was received by me showing that the
                                                                                           sumnl-ons and a copy of the complaint maiied to
lefendant __                                                 was accepted by                                             on behaif of said
lefendant on the             day of              .__,20
                  --_-                                                            Clerk, Marion Superiof Court
                                                                                  By:
                                                                                        Deputy



                         ts                                                                   (n
                              #e^\
                              l-\-/                                                           -                                                 -
                         o                                                                    rn                                        /I      U)
                                                                                                                                                o
                              7p                                                                                                                z
                         "5
                              Y                                        @                           v"t                                  &'
                              P                                                                    14
                                                                                                   t                                    tt
                              I                                                                                                          t,"
                                  CI                                                               7F
                                                                                              :r   ts\
                              s                                                                                                         p
                               Y                                                                                                        s
                                                                       CN
                                                                                                   Fq
                              \.>



                                                                       @
                                                                                              g    r\
                                                                                                   P-st
                                                                                                                                        b

                                                                       tst                    v    z4
                                                                       (n                                                                       H
                                                                                                   ff\
                                                                                                   v4         Fr
                                                                                                              v
                                                                                                              o
                                                                                                              6'
                                                                                                              -
                                                                                                              st
                                                                                                               #
                                                                                                              t,A
                            49D03-1809-CT-035666
Case 1:18-cv-03127-WTL-DML Document                     SL]N4IMCINS      Filed: 9/6/2018 11:42 AM
                                    1-1 Filed 10/09/18 Page 12 of 19 PageID   #: 15
                                                                                  Myla A. Eldridge
                                                   Marion Superior Court, Civil Division 3                                                     Clerk
                                                                                                                              Marion County, Indiana
 JONIECE BROOKS                                                                                In the Marion Superior Court, Room No

 ANd     JAYDEN BOND.

                                                                       Plaintiff

                                        _vs_                                                      Cause
 FISHERS HIGH SCHOOL, HAMILTON SOUTHEASTERN                                                       No.   -_


 SCHOOL CORPORATION,' aka, HAMILTON
 SOUTHEASTERN SCHOOL DISTRICT. aka.
 r-IATIILTON S OUTHEA STERN S CHOOL S, h:Cr Wn                         iupR,
                                                                       Defendant


 TO DEFENDANT: (Name)

                        (Address)

                                         Rssa(^ar            ,Tp c\boz? _
     You are heleby notified that you have been sued by the person
                                                                   named as plaintiff and                               in the court indicated
above,

     The nature of che suit against you is stated in the complaint which
                                                                         is attpched to this summons,                            It   alsio srates
the relief sought or the demand made against you be the praintiff,

     An answer or other appropriate response in writing to the complaint must be
                                                                                 filed either
within [wenty (20) days, commencing the day after you receive this IiurnFons, (or by you or your arr.orfley
                                                                                           twenty-three (23) da.ys if
this Summons was received by mail), or a judgment by default may be rendered
                                                                                 against you for the relief demanded
by plaintiff.

     If you have a claim for relief            against the plaintiff arising from the {ianle tl:ansaction          or   occurrence, you must
assert   it in your written   answer,

     If you need the name of an attorney' you may contact the Indianapolis Bar Association
                                                                                           Lawyer l{eferral service-Q6g-2.222),
or the Marion county Bar Association Lawyer Referral Service (634-1950).
         9/6/2018
Dated
                                                                                                                                           (Seal)
         ---__                                                                      Clerk, Marion Superior Couft

                (The following manner of service of summons is hereby
                                                                      designated.)
                      Registered or certified mail,

                      Service at place of employment, to-wit:

                      Service on individual          (pers.onal.or cppy) at above address
                                               -          yr,ti   tn   H rl?dtge-5
       ---X-          Service on agenr, (Specify)
                                                                                                                -r-^, Lfb.>38
                      Other selvice. (Specify)



A.ttorney for Plaintiff
                                                                                   Madon County Superior Court
                                                                  v                200 East Washington Street
Address
                                                                                   Indianapolis, IN 46204

a.                           \Qso
                ]r1 -t\s -9S3 t*                                                   Telephone


                                                                                                                         Exhibit C
            Case 1:18-cv-03127-WTL-DML   DocumentON
                           SruERIFJF'S "R"ET'URN  1-1SERVTCH
                                                      Filed 10/09/18 Page 13 of 19 PageID #: 16
                                                                0F suMm@n/,s
   I hereby certify that I have served this summons on    the                dav of                             20-.__:
   (1) By ctelivering a copy of the Summons and a copy of the complaint to the defendant,

   (2) By leaving a oopy of the Summons and a copy of the complaint at

rhich is the dwelling place or usual place of abocle of
nd by rnailing a copy of said sumfirons to said defendant at the above address,

    (3) Other Service or Remarks:




iheriff's Costs                                                                 Sheriff

                                                                                By:----
                                                                                       Deputy

                                             C ['8 frl.K.' S C H RT T F T C AT E O II IWAT]."X IV G
    I   heleby certify that on the   _._-_      day of                            Z0--,
                                                                                ,20               I   mailed a copy of this Summons and a copy of the
,omplaint b the defendant,                                                       , by                                  mail, requesting a rel:um leceipt,
t the addrer;s furnished bv the plaintiff.                                               ----.

                                                                                 Clerk, Marion Superior Court
)ated:                                                                          By:
                                                                                       Deputy

                                     /RfrZUfiil/ rON SEftTz/CE OF SUMLMONS Ey AIAIL
    I    hereby certify that the attached return receipt was received by me showing that the Summons and a copy of the cornplailt mailecl to
lefendant -_--                                       was accepted by the defendant on the          day of                       ,20-,
    I hereby cet'tify that the attached t'efum receipt was received by me showing that the Surnmons and a copy of the complaint was returned
rot accepted on the -----             day of _-_                   ,20--      .
     T harah('   nortirrr rhac the, attached return receipt was received by me showing that
    L
       '
         LvLvv J                                                                            the Summons and a copy of the cornplaint mailed to
Iefendant                                                    was accepted by                                                               on behalf of said
lefendant on the              day'of                          20-        .


                   --                                                            Clerk, Marion Superior Court

                                                                                 By:
                                                                                       Deputy



                                                                                           a                                                           o
                                                                                           *re
                                                                                                                                     I




                                                                                                                                     IF        /l      -
                                                                                                                                                       a
                                                                                            trl
                                                                                                                                     lp
                                                                                                                                     I
                                                                                                                                               (L
                                                                                                                                                       G
                                                                                                                                                       z
                                                                                                      V)                             V"\       ',(,
                                                                    w                                                                IF
                                                                    Fq                                Sa                             B
                                                                                                                                     tq        l-
                                                                                                      ,*1                            td'        $
                                                                    N,                                Q7
                                                                                                      F\
                                                                                                                              slpt"ld          \.p
                                                                                            iJ
              t?                                                                                      Q7                                       iu
                                                                    @                                                         r'               ()
             P                                                                                        tsq
                                                                                                      /\
             n                                                                                        rt                                 ti/
                                                                                            g                                                  \F
                                                                    @
                                                                    Fj
                                                                    UN
                                                                                            z 4:4
                                                                                              =v
                                                                                              v)                o                                      z
                                                                                                                6','
                                                                                                                i



                                                                                                                V
                            49D03-1809-CT-035666
Case 1:18-cv-03127-WTL-DML Document                   s[JVlnAciNS        Filed: 9/6/2018 11:42 AM
                                    1-1 Filed 10/09/18 Page 14 of 19 PageID   #: 17
                                                                                  Myla A. Eldridge
                                            Marion Superior Court, Civil Division 3                                                  Clerk
                                                                                                                    Marion County, Indiana
  JONIECE BROOKS                                                                       In the Marion Superior Court, Room l,lo

  ANd     JAYDEN BOND,

                                                              Plaintiff

                                                                                             Cause
  FISHERS HIGH SCHOOL, HAMILTON SOUTHEASTERN                                                 No.

  SCHOOL CORPORATION,' aka, HAMILTON
  SOUTHEASTERN SCHOOL DISTRICT, aka,
  HAMILTON SOUTHEASTERN SCHOOLS, RICK WIMMER,
                                                              Defendant

                                  F :lto,p-s $rq"F\ bcrx:or
 TO DEFENDANT: (Namet

                      (Address;   \3ooD Qg@
                                           ,---r-w
                                                             ttuusg
      You are hereby notified-St}\.oas
                              that you have been          sued   by the person named as plaintiff and in the court           indicated
 above,

     The nature of the suit against you is stated in the
                                                         complaint which is attached to this summons.                  It
 the reiief sought or the demand mad.e against you                                                                          also   states
                                                   be the plaintiff.
      An answer or other appropriate response in writing to the complaint
 within [wenty (20) days, commencing the day aftel you                    must be filed either by you or your au.orfley
                                                               receive this surnmonr,- t", twenty-three (23) d,a.ys
 this summons was received by mail), or a judgment by
                                                          i"iurli-ruv be rendered against you for the relief demanc{edit
 by plaintiff.

                                   relief against the plalntiff arising from the same
 ,rr"JJ,,11"r"11"i,J,#1t#-:::                                                         rr:ansacrion or occurrerce, you              musr

     If you need the name of an attorney, you may          the Indianapolis Bar Association Lawyerl{eferral
                                                  ^contlct
or the Marion county Bar Association Lawyer Referrar                                                        servtce Q6g-2,222),
                                                        Service (634-^3950),
          9/6/2018
Dated
                                                                                                                                 (Seal)
                                                                          Clerk, Marion Superior Court;

             (The following manner of service of summons
                                                         is hereby designated.)
                    Registered or certified mail.

                    Service at place of employment, to_wlt:

                    Service on individual   _    (p
           \r'
                    Service on agenr,   (Specify)                                                    bo3g
      -A-           Other service. (Specify)



A,ttorney for Plaintiff
                                            -_                         Marion County Superior Court:
                                                                       200 East Washington Street
                                                                       Indianapolis,   III   46204


                                                                       Telephone


                                                                                                              Exhibit D
               Case 1:18-cv-03127-WTL-DML   DocumentOAI
                               SWtrRTFJF'S R,EtrURA/ 1-1 SERVNCE
                                                          Filed 10/09/18
                                                                    OF Page 15 of 19 PageID #: 18      ST]NTA{OAIS
    I hereby certify that I have served this summons on          the           dav of                       ,20
    (1) By delivering a copy of the Summons ancl a copy of the complaint to the
                                                                                defendant,
    (2) By leaving a copy of the Summons and a copy of the complaint at

zhich is the dwelling piace or usual place of abocle of
nd by rnailing a copy of said surrunons to said defendant at the above address,

    (3) Other Service or Remarks:



jheriff's Costs
                                                                                   Sheriff
                                                                                   By:----
                                                                                         Depury

                                                  C N.."BAIK'   S CERTTF TC,4TE         F IWAN.IN G
                                                                                         O
    I       heleby certify that on the
                                         -.._-_      day of                       ,20--,I   mailed a copy of this Summons and a copy of the
omplaint to the defendant,                                                           hv                                mail, requesting a return receipt,
t the address furnished by the plaintiff.

                                                                                   Clerk, Marion Superior Court
)ated:                                                                             By:
                                                                                         Deputy

                                         /RE7'UfiIIg OI{ SERY/CE,             OF SUiI,LMOAIS
                                                                                      --.          E}/ MATT,
    T       hetah' vvr
                   aar+itt'r rh^t the attached retum recr:ipt
                       urrJ rrre                              was received by me showing that the Sumrnons and a copy of the cornplai't mailecl to
lefendant                                            __,   was accepted by the defendant on   the          day   of                                 ,_,ZO--_.
    I herebv certify that the attached retum recei.pt was received by me showing that the Surnmons and            a copy of the complaint was returned
rot accepted on the _.___ day of                            _,20_.
    I hereby certify that the attached return receipt was received by me showing that the
                                                                                          Summons and a copy of the cornplai't mailed to
iefendant                                                   was accepted by __--                                       on berhalf of said
lefendant on the ___         day.of                        , 2O-..
                                                                                   Clerk, Marion Superior Court

                                                                                   By:
                                                                                         ---_
                                                                                         Deputy



                                                                                              c/)                                                            o
                                                                                              H
                                                                                              ttt
                                                                                                                                             I
                                                                                                                                             tf\
                                                                                                                                             lt       /I     -
                                                                                                                                                             a
                                                                                                                                                             o
                                                                                                                                             IE?             4
    I,
                                                                                                                                                       Al

                                                                                                                                             t.l
                                                                                                                                             I




        I                                                               (a                          VJ                                       tu\
                                                                                                                                             t3       ?;,
    cb
        (.
                                                                        ffi                   n     g{                                       l-r,
                                                                                                                                             t?l
                                                                                                    ,-'1
    w                                                                                         -                                              IA        i\
        I
        h                                                                                           K
    q                                                                   (n
                                                                                              "j    *e
                                                                                                    F\                         #|trt-
                                                                                                                               '         lr'r
                                                                                                                                                      i\)
                                                                                                                                                      o
                                                                                                                                                       (l"
                                                                                                    r'\                                  1"2
                                                                                                                                     .t\?'            J;
                                                                        (e
                                                                        d                     z     1e/
                                                                                                    .€-4               Ll?'
                                                                                                                                     I   I

                                                                        m                                                                                    !a
                                                                                                    frh     r-        '; ltr       +ll
                                                                                                                                         I


                                                                                                            o         y. td        FDI                       z
                                                                                                            a
                                                                                                                                   tr.
                                                                                                                                   El
                                                                                                                                         1




                                                                                                            V
                                                                                                                                   t/I
                                                                                                                                         I
                            49D03-1809-CT-035666                         Filed: 9/6/2018 11:42 AM
Case 1:18-cv-03127-WTL-DML Document 1-1 Filed 10/09/18 Page 16 of 19 PageID   #: 19
                                                                                  Myla A. Eldridge
                                  Marion Superior Court, Civil Division 3                                 Clerk
                                                                                         Marion County, Indiana


     STATE OF INDIANA                      )         MARION COUNTY SUPERIOR COURT
                                           )
                                           )         CAUSE NO.
     COUNTY OF MARION                      )
                                           )
     JONIECE BROOKS                        )
     and JAYDEN BOND,                      )
           PLAINTIFFS,                     )
           VS.                             )
                                           )
     FISHERS HIGH SCHOOL,                  )
     HAMILTON SOUTHEASTERN                 )
     SCHOOL CORPORATION, aka,              )
     HAMILTON SOUTHEASTERN                 )
     SCHOOL DISTRICT, aka,                 )
     HAMILTON SOUTHEASTERN                 )
     SCHOOLS, RICK WIMMER,                 )
          DEFENDANTS.                      )

                                          APPEARANCE

            Comes now Richard A. Jones, Attorney At Law, and hereby enters his appearance

     on behalf of the Plaintiffs JONIECE BROOKS and JAYDEN BOND in the above

     referenced matter. Counsel will accept service by fax.


                                           Respectfully submitted,


                                           /s/Richard A. Jones
                                           Richard A. Jones, Esq., 15200-49
                                           Attorney for Joniece Brooks and Jayden Bond
                                           7202 N. Shadeland Ave., Suite 214
                                           Indianapolis, IN 46250
                                           Ph: 317-845-9596
                                           Fax: 317-845-9597
                                           Email: Rajoneslaw08@aol.com




                                                                                     Exhibit E
                                                                         Filed: 10/8/2018 1:39 PM
Case 1:18-cv-03127-WTL-DML Document 1-1 Filed 10/09/18 Page 17 of 19 PageID  #: 20
                                                                                 Myla A. Eldridge
                                                                                                               Clerk
                                                                                              Marion County, Indiana



  STATE OF INDIANA                    )              MARION COUNTY SUPERIOR COURT
                                      ) SS:
  COUNTY OF MARION                    )              CAUSE NO: 49D03-1809-CT-035666

   JONIECE BROOKS                                )
   and JAYDEN BOND,                              )
                                                 )
                 Plaintiffs,                     )
         v.                                      )   Honorable Gary Miller, Judge
                                                 )
   FISHERS HIGH SCHOOL,                          )
   HAMILTON SOUTHEASTERN                         )
   SCHOOL CORPORATION, aka                       )
   HAMILTON SOUTHEASTERN                         )
   SCHOOL DISTRICT, aka,                         )
   HAMILTON SOUTHEASTERN                         )
   SCHOOLS, RICK WIMMER,                         )
                                                 )
                 Defendants.                     )

                    E-FILING APPEARANCE BY ATTORNEY IN CIVIL CASE

     1. The party on whose behalf this form is being filed is:
        Initiating ______       Responding ____       Intervening ____ ; and
        the undersigned attorney and all attorneys listed on this form now appear in this case for
        the following parties:
        Name of party: Fishers High School, Hamilton Southeastern School Corporation, and
        Rick Wimmer
     2. Attorney information for service as required by Trial Rule 5(B)(2)


          Name: Liberty L. Roberts                               Atty Number: 23107-49
          Address: CHURCH CHURCH HITTLE + ANTRIM
          10765 Lantern Road, Suite 201
          Fishers, IN 46038
          Phone: 317-773-2190
          FAX: 317-572-1609
          Email Address: LRoberts@cchalaw.com



                                                 1

                                                                                         Exhibit F
Case 1:18-cv-03127-WTL-DML Document 1-1 Filed 10/09/18 Page 18 of 19 PageID #: 21



        IMPORTANT: Each attorney specified on this appearance:
        (a)      certifies that the contact information listed for her on the Indiana Supreme Court
                 Roll of Attorneys is current and accurate as of the date of this Appearance;
        (b)      acknowledges that all orders, opinions, and notices from the court in this
                 matter that are served under Trial Rule 86(G) will be sent to the attorney at
                 the email address specified by the attorney on the Roll of Attorneys
                 regardless of the contact information listed above for the attorney; and
        (c)      understands that she is solely responsible for keeping her Roll of Attorneys
                 contact information current and accurate, see Ind. Admis. Disc. R. 2(A).
     3. This is a CT case type as defined in administrative Rule 8(B)(3).
     4. This case involves child support issues. Yes ____ No 
     5. This case involves a protection from abuse order, a workplace violence restraining order,
        or a no – contact order. Yes ____ No 
     6. This case involves a petition for involuntary commitment. Yes ____ No 
     7. There are related cases: Yes ____ No 
     8. Additional information required by local rule: N/A
     9. This form has been served on all other parties and Certificate of Service is attached:
        Yes  No___
     10. I have reviewed and discussed the Commitment to Respect and Civility with my client
         and agree to aspire to its goals.


                                              Respectfully submitted,


                                              /s/ Liberty L. Roberts
                                              Liberty L. Roberts, Atty. No. 23107-49
                                              Attorney for Defendants
                                              CHURCH CHURCH HITTLE + ANTRIM
                                              10765 Lantern Road, Suite 201
                                              Fishers, IN 46038




                                                  2
Case 1:18-cv-03127-WTL-DML Document 1-1 Filed 10/09/18 Page 19 of 19 PageID #: 22



                                  CERTIFICATE OF SERVICE

         I hereby certify that on this 8th day of October 2018, I electronically filed the foregoing

  with the Clerk of the Court using the Indiana E-Filing System (“IEFS”), and a copy of the

  foregoing was served upon the following counsel of record:

 Richard A. Jones – Rajoneslaw08@aol.com
 7202 N. Shadeland Ave., Suite 214
 Indianapolis, IN 46250
 Attorney for Plaintiff




                                                /s/ Liberty L. Roberts
                                                Liberty L. Roberts


  CHURCH CHURCH HITTLE + ANTRIM
  10765 Lantern Road, Suite 201
  Fishers, IN 46038
  T: (317)773-2190 / F: (317)572-1609
  Email: LRoberts@cchalaw.com




                                                   3
